       Case 6:05-cr-60008-AA        Document 255-5   Filed 02/01/10   Page 1 of 27




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        Attorneys for United States of America




                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                EXHIBIT C TO DECLARATION OF
                                                 CHRISTOPHER L. CARDANI
                      Defendant.
                                                 PART 2:
In re AL RAJHI BANK SUBPOENA                     (1)  AL-THEBITY DECLARATION
                                                 (2)  EXHIBITS A-G
AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
      Case 6:05-cr-60008-AA    Document 255-5    Filed 02/01/10   Page 2 of 27




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                                                )
                       Petitioner,              )
                                                )
                 v.                             )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )          Misc. Action No.
Washington, DC 20530-0001                       )
                                                )
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                         Respondents.           )
       Case 6:05-cr-60008-AA        Document 255-5        Filed 02/01/10    Page 3 of 27




I, KHALID A. AL-THEBITY, hereby declare and state as follows:


       1.      I am a partner in the Riyadh office of the law firm of Dewey & LeBoeuf LLP,

attorneys for Petitioner Al Rajhi Banking & Investment Corporation (the “Bank”) in the above-

captioned action. I have personal knowledge of the matters stated below. If called as a witness,

I could and would testify competently thereto. I also submit this Declaration for the purpose of

putting before the Court certain documents in support of Petitioner’s Motion to Quash USA

PATRIOT Act Subpoena.

       2.      A large portion of the Bank’s stock is held by the Al Rajhi family.

       3.      The Bank has limited international operations: it began to operate in Malaysia in

2006, and maintains a small number of branches in that country. The Bank does not have any of

its own branches in the United States.

       4.      The Bank is the holder of four correspondent accounts with United States banks.

The Bank’s correspondent accounts are held at with the following banks: (1) JP Morgan Chase

Bank NA; (2) Wachovia Bank NA; (3) Standard Chartered Bank, New York; and (4) a

correspondent account used by the Bank’s international brokerage at Deutsche Bank.

       5.      I have analyzed current Saudi Arabian law regarding Saudi banks’ disclosures of

customer records to foreign authorities, as implicated in the Patriot Act Subpoena (the

“Subpoena”) issued on the Bank. Based on my review, it is my understanding that Saudi law

prohibits the Bank from complying with the requests for documents in the Subpoena.

       6.      Saudi Arabian Monetary Agency (“SAMA”) Circular Number. 16323/BC/319,

dated September 7, 1985, instructs Saudi banks to “comply with the common rule of not

disclosing any information except through SAMA and to reject any request for information.”




                                                2
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       7.      SAMA Circular Number 100/BC/63, dated 24/3/1413 H, instructs banks to advise

a “government agency that asks for information about client balances and banking activities to

address its request to the Ministry of Finance and National Economy or to SAMA.”

       8.      Section 2.6.3 of the Rules Governing Anti-Money Laundering & Combating

Terrorist Financing (Second Update, December 2008) provides that: “any sharing of information

with a foreign party whether with another bank (affiliation, branch, correspondent) or a foreign

governmental authority should not be done without the prior approval of and in coordination

with SAMA.” Article 23(2) of the Saudi Banking Control Law stipulates that “[w]hoever

violates the provisions of Article (19) shall be punished with the imprisonment for a period not

more than two years or with a fine not exceeding ten thousand Saudi Riyals or with one of the

two penalties.”

       9.      Attached as Exhibit A is a true and correct copy of SAMA Circular No.

16323/BC/319, dated September 7, 1985.

       10.     Attached as Exhibit B is a true and correct copy of SAMA Circular Number

100/BC/63, dated 24/3/1413 H.

       11.     Attached as Exhibit C is a true and correct copy of excerpts from Section 2.6.3 of

the Rules Governing Anti-Money Laundering & Combating Terrorist Financing (Second Update,

December 2008), promulgated by the Banking Inspection Department of SAMA.

       12.     Attached as Exhibit D are true and correct copies of Article 19 and Article 23(2)

of the Saudi Banking Control Law.

       13.     Attached as Exhibit E is a true and correct copy of the Bank’s letter to SAMA

dated September 1, 2009, requesting instruction on how it might comply with the Subpoena.




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       14.    Attached ~ exhibit F is a certified English translation the Bank's letter to SAMA

(Exhibit E) dated September 10,2009, requesting instruction on how it might comply with the

Subpoena.

       15.    Attached as Exhibit G is a true and correct copy of SAMA's letter to The Bank

dated September, 2009, informing the Bank that it may not comply with the Subpoena.



       I declare under the penalty of peIjury under the laws of the United States that the

foregoing is true and correct to the best of my knowledge.




                                                    Respectfully submitted,




                                                    ?ho--I ',cd fr1f!/1(20[j"
                                                    Khalid A. AI-Thebity
                                                    Khalid AI-Thebity Law Firm
                                                    In Affiliation with
                                                    Dewey & LeBoeuf LLP
                                                    King Fahad Road - Sky Towers, 8th Floor
                                                    PO Box 300807
                                                    Riyadh, Saudi Arabia 11372
                                                    Telephone: + 966 14169990
                                                    Facsimile: + 966 1 4169980

                                                    ATTORNEYS FOR PETITIONER




                                                4
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT A TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
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and                                             )
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the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
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                        Respondents.            )
Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 7 of 27
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
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                     Petitioner,                )
                                                )
                     v.                         )
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ERIC H. HOLDER, JR.,                            )
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the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT B TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
Washington, DC 20220                            )
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KENT S. ROBINSON,                               )
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1000 SW Third Avenue, Suite 600                 )
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and                                             )
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960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
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                        Respondents.            )
Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 9 of 27
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
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ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT C TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
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Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 11 of 27
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
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                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
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Treasury,                                       ) EXHIBIT D TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
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Medford, Oregon 97504                           )
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                        Respondents.            )
Case 6:05-cr-60008-AA      Document 255-5        Filed 02/01/10     Page 17 of 27




                    Banking Control
                                  Law*




        * Issued by the circular of the Minister of Justice No. 13/T/2898 dated
     28.5.1427 H, the Royal Decree No. M/5 dated 22.2.1386 H and the Resolu-
     tion of the Council of Ministers No. 179 dated 5.2.1386 H.
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                               Banking Control Law
consideration when carrying out cer-         by it. The examination of the bank's
tain types of transactions for their cli-    books and accounts should take place
ents.                                        in the bank's premises. In such a case
   4. The cash margins to be ob-             the bank staff must produce all the
tained by banks against specified cat-       required books and records of ac-
egories of credits or guarantees.            counts and other documents in their
   5. The minimum ratio to be ob-            custody or within their authority and
served between the limits for loans          must furnish any information they
and the collateral for such loans.           have relating to the bank.
   6. Fixing the assets to be main-
tained by each bank within the King-         Article 19
dom. Such assets should not fall be-            Any person who comes into pos-
Iowa certain percentage of the Bank's        session of information during the per-
deposit liabilities, which shall be fixed    formance of his duties in the imple-
by the Agency from time to time.             mentation of this Law, is not allowed
   The Agency may, from time to              to disclose such infonnation or to
time, issue decisions concerning the         make use of it in any manner.
following:
   1. Definition of the expression           Article 20
/Ideposit liabilities" referred to in this      The Agency shall periodically
Law.                                         publish combined statements of the
   2. Determination of bank holidays         principal data contained in the re-
and bank business hours.                     turns mentioned in Article 15.

Article 17                                   Article 21
   The Agency may, at any time, re-             The Minister of Finance and Na-
quest any bank to supply it, within a        tional Economy, in exceptional cir-
time limit it will specify and in the        cumstances, and with the prior ap-
manner it will prescribe, with any in-       proval of the Council of Ministers,
formation that it deems necessary for        may exempt any bank from any pro-
ensuring the realization of the pur-         vision of this Law or from the related
poses of this Law.                           implementing rules for a limited pe-
                                             riod and subject to such other condi-
Article 18                                   tions as may be laid down in each
   The Agency may, with the ap-              case.
proval of the Minister of Finance and
National Economy, conduct an in-             Article 22
spection of the books and accounts of           If the Agency finds that a bank has
any bank, either by the Agency's own         failed to comply with the provisions
staff or b~ outside auditors assigned        of this Law, or with the provisions of

     AL-ad! (32)                                                               203
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                             Banking Control Law
any regulations issued under this          ticle 2, Article 5 and items a, band c
Law, or if a Bank adopts a policy that     of paragraph 1 of Article 11, Article
might seriously affect its solvency or     12 and Article 18, shall be liable to
liquidity, it may, with the approval of    imprisonment for a term not exceed-
the Minister of Finance and National       ing two years and to a fine not exceed-
Economy, take one or more of the fol-      ing SR. 5,000 for every day the offence
lowing measures:                           continues or to either of these penal-
     a. Appoint one or more advisers       ties.
to advise the bank in the conduct of           2. Any person who contravenes
its business.                              the provisions of Article 19 shall be
     b. Order the suspension or dis-       liable to imprisonment for a term not
missal of any director or officer of the   exceeding two years and to a fine not
bank.                                      exceeding SR. 20,000 or to either of
     c. Limit or suspend the granting      these penalties.
of credits or the acceptance of depos-         3. Any person who contravenes
its.                                       the provisions of Articles 8, 9 and 10
     d. Require the bank to take such      shall be liable to imprisonment for a
other steps as it may consider neces-      term not exceeding six months and
sary.                                      to a fine not exceeding SR. 10,000 or
     If the Agency finds that a bank       to either of these penalties.
persistently contravenes the provi-            4. Any person who contravenes
sions of this Law or the decisions or      the provisions of articles 7,14 and 15
regulations made hereunder, it may         shall be liable to a fine not exceeding
call upon such a bank to submit its        SR. 500 for every day the contraven-
reasons for the contravention, accom-      tion continues.
panied by its proposals to rectify the         5. Any person who contravenes
position within a stated period. If the    any other provision of this Law or
Agency is of the opinion that such         related implementing rules shall be
proposals are not sufficient for their     liable to a fine not exceeding SR. 5,000.
purpose or if the bank fails to imple-         6. In the event that offences pun-
ment an agreed or prescribed course        ishable according to paragraphs 2, 3
of action within the stated period, the    and 5 of this Article are committed by
Minister of Finance and National           the same person for one purpose and
Economy may, subject to the approval       provided that such offences are inter-
of the Council of Ministers, revoke the    related as to object and timing, they
licence of the said bank.                  are to be considered as one offence
                                           punishable by one penalty.
Article 23                                     In imposing the penalties con-
   1. Any person who contravenes           tained in this Article it is to be ob-
the provisions of paragraph 1 of Ar-       served that should an offence be pun-

204                                                                    AI-ad! (32)
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
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                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
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950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
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Treasury,                                       ) EXHIBIT E TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
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                        Respondents.            )
Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 21 of 27
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
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ERIC H. HOLDER, JR.,                            )
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TIMOTHY F. GEITHNER,                            )
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Treasury,                                       ) EXHIBIT F TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
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                                                )
KENT S. ROBINSON,                               )
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                        Respondents.            )
Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 23 of 27
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Case 6:05-cr-60008-AA   Document 255-5   Filed 02/01/10   Page 25 of 27
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
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Olaya Road, Riyadh                              )
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ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
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Treasury,                                       ) EXHIBIT G TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) KHALID A. AL-THEBITY
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                        Respondents.            )
     Case 6:05-cr-60008-AA                 Document 255-5                Filed 02/01/10             Page 27 of 27




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                  Mr. Abdullah Suloiman AllUljhi
                  ChiefJZxccu live Officer
                  Al R4jhi Dank
                  P.O. Dox 28, Riyadb.11411
I,                Saudi Arabia      '
I
,I

                  DCllI'Mr, Al Rajhi,

                         This refcrn to yom lelter to SAMA, dntcd 10 Hepterobcr 2009, in wInch YOll
                  requested the Saudi Anlbian Monctcry Agcncy'/j r'SAMA") lIpprovnl 10 release some
                  banking documents rellltiog to your DuRtomcr, MI.'. Sollman Al-J3uthe.

                          The Slllldi Arl\l:linn ho.nking controllnw prohibits bitllks from disclosine Cllslonler
                  inf{\~lUion without. tho express oOllllcnl of 1'Olovant tlulhorilic/j. Article 19 oflho BllllJdng
                  eontTol LllW of the Kingdom of Saudi Ambia (DCL'1 states: "tlfl)l person WJIO come,r'
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                  implelTlcmatton ofl!lls UTW, is not allowed to df~close such injormatlo11 or lIlake lise of It
                  in any marmer," In IIddition. over pout )'O11!5. HAMA nud otha' concerned government
                  mini9tr.iO!l hlwo iaauPd II mlmbcr of regulations relntiug to confidential bmk and e\lstomer
                  rcluleu infonnafiotL 'IlICSC regulations require bL\nltB to Book tho J'K-'1Il:lloeion of tho
                  relevant government authorities by chnnneling their roquoll~ through BAMA' fur
                  appropriate action. Article 23(2) of the Det cloudy slll.l.e.q lhllt a. violntion of Article 19
                  can. lend to financial pennllies for violatioll of JUly relevant OOlJU11I.tionll under tho In.w.
                  AccurdingJ,y, it is A. crime plminhahl., by itnp11soumcnt lUlr.1/or fino fo!' nny porson to
                  digcloBO b:J.DK ipf(lOl.ll\tJon without prior llpproval by the relevant ltUlhorlty.

              .        SAMA cnnnot cQusider tile requcGt RB ll\lbmitted. The prup6r <l.rociSll r.llA/;loe19 for
               processing l\ request iOL' dOClunCllt5 from ollicilll bodiclI outuidc the Kin,gllom o£ Sl'~lldi
               Arabia, including infoJ.1!1.'ition. reglU'tJ.lllg the account,. of R custom.er or relating to
               bflnJdng activities located at a domestic office of 1\ Saudi Ar<lbian haule, m\lst 1)0
               followed, The proper method of delivering any l'CQUest lor documonts would be through
               the service of lellers rogatory in the m:umor ununl lu inlcmatiOnn! mlatiop8. Ouly then
               would SAMA be in ;), position to cOllr;ider 8\ICh IL requ6nt.

                          COllll~IJ.II01itiy. your bank's lawyer shOLtM c!ctclmino how to infonu the United
                  Slatcs lIuthoritiea thnt SAMA Cllllnot cUl15ider this infonl1ntioD request in Its current
               lonn.




                                                                          Dr, Abdulrll1mllUl Al-Hamidy




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